Case 1:19-md-02875-RMB-SAK      Document 3057-2      Filed 05/22/25   Page 1 of 3 PageID:
                                      109561



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


   IN RE VALSARTAN,
   LOSARTAN, AND                                          MDL No. 2875
   IRBESARTAN PRODUCTS
   LIABILITY LITIGATION                            HON. RENÉE MARIE BUMB


   THIS DOCUMENT RELATES TO:
   Roberts v. Zhejiang Huahai
   Pharmaceutical Co. Ltd.,

   Case No. 1:19-md-02875-RMB-SAK


              CERTIFICATION OF ADAM M. SLATER IN
      SUPPORT OF PLAINTIFFS’ DAUBERT MOTION TO PRECLUDE
    THE OPINIONS OF DEFENSE EXPERT ANDREW THOMPSON, PH.D.
        ADAM M. SLATER, hereby certify as follows:

        1.    I am an attorney at law within the State of New Jersey and a partner

  with the law firm of Mazie Slater Katz & Freeman, LLC, and serve as Plaintiffs’ Co-

  Lead Counsel. I am fully familiar with the facts and circumstances of these

  actions. I make this Certification in support of Plaintiffs’ motion to exclude the

  testimony of Defense Expert Andrew Thompson, Ph.D.

        2.    Attached hereto as Exhibit 1 is a true and accurate copy of Andrew

  Thompson’s April 10, 2025 report in this case.
Case 1:19-md-02875-RMB-SAK       Document 3057-2        Filed 05/22/25   Page 2 of 3 PageID:
                                       109562



        3.     Attached hereto as Exhibit 2 is a true and accurate copy of Andrew

  Thompson’s May 9, 2025 deposition transcript in this case.

        4.     Attached hereto as Exhibit 3 is a true and accurate copy of the relevant

  page of Eric Gu’s April 5, 2021 deposition transcript in this case.

        5.     Attached hereto as Exhibit 4 is a true and accurate copy of FDA,

  Guidance for Industry, Genotoxic ad Carcinogenic Impurities in Drug Substances

  and Products: Recommended Approaches (Dec. 2008).

        6.     Attached hereto as Exhibit 5 is a true and accurate copy of the relevant

  page of ZHP’s ZnCl2 DMF, Impurities Section (HUAHAI-US00007898).

        7.     Attached hereto as Exhibit 6 is a true and accurate copy of the relevant

  excerpts of the transcript of Peng Dong’s March 29, 2021 deposition in this case.

        8.     Attached hereto as Exhibit 7 is a true and accurate copy of ZHP’s

  translation of Jinsheng Lin’s July 27, 2017 email regarding the NDMA

  contamination of ZHP’s valsartan (ZHP00190573).

        9.     Attached hereto as Exhibit 8 is a true and accurate copy of the transcript

  of Min Li’s April 20, 2021 deposition in this case.
Case 1:19-md-02875-RMB-SAK    Document 3057-2     Filed 05/22/25   Page 3 of 3 PageID:
                                    109563



       10.   Attached hereto as Exhibit 9 is a true and accurate copy of Plaintiffs’

  translation of Jinsheng Lin’s July 27, 2017 email regarding the NDMA

  contamination of ZHP’s valsartan (ZHP00190573).

                                MAZIE SLATER KATZ & FREEMAN, LLC
                                Attorneys for Plaintiffs

                                By:    /s/ Adam M. Slater

  Dated: May 22, 2025
